













Opinion issued August 28, 2009








In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-09-00068-CV
____________

WOMAN’S HOSPITAL OF TEXAS, MICHELLE RUIZ, R.N., AND
DENISE HOLODNAK, R.N., Appellants

V.

JEREMY AND JAYMIE COOPER, INDIVIDUALLY, AND AS PARENTS
AND NEXT FRIENDS OF MARISSA COOPER, A MINOR, APPELLEES




On Appeal from the 152nd District Court
Harris County, Texas
Trial Court Cause No. 2006-77263




MEMORANDUM OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On August 21, 2009, appellants, Woman’s Hospital of Texas, Michelle Ruiz,
R.N., and Denise Holodnak, R.N., filed a motion to dismiss their interlocutory appeal,
indicating that the underlying lawsuit has been settled and a Notice of Nonsuit with
Prejudice and Final Judgment has been filed with the trial court.  The motion to
dismiss was joined by appellees, Jeremy and Jaymie Cooper, individually, and as
parents and next friends of Marissa Cooper, a minor.  No opinion has issued. 
Accordingly, the motion is granted, and the appeal is dismissed.  See Tex. R. App.
P. 42.1(a)(1).   By agreement of the parties, costs incurred by reason of this appeal
will be paid by the party incurring the same.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Any pending motions in this appeal are overruled as moot.  The Clerk is
directed to issue mandate within 10 days of the date of this opinion.  See Tex. R. App.
P. 18.1.
PER CURIAM
Panel consists of Justices Higley, Sharp, and Massengale.


